               Case 6:06-cr-00026-JRH-CLR Document 865 Filed 12/04/08 Page 1 of 1
 A() 247 (02/08) Order Regarding Motion for Sentence Reduction                                                            F
                                                                                                              U.S. 1)ISTiCT COURT
                                      UNITED STATES DISTRICT COURT 3f: . Y. , oiv.
                                                                   for the
                                                                                                             za DEC _14 Afl 9: i5
                                                          Southern District of Georgia
                                                             Statesboro Division
                   United States of America                           )
                              v.                                      )
                                                                      ) Case No: CR606-00026-006
                         Homer Holloway
                                                                      ) USMNo: 12965-021
Date of Previous Judgment: January 8, 2008                            ) Michael C. Garrett
(Use Date of Last Amended Judgment if Applicable)                    ) Defendant's Attorney


                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant     the Director of the Bureau of Prisons   the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
             DENIED.             GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                             thelast judgment issued) of ________________ months is reduced to ________________________

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                    33                           Amended Offense Level:     33
Criminal History Category:                 IV                           Criminal History Category: IV
Previous Guideline Range:               188 to 235 months               Amended Guideline Range: 188 to 235 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
    The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
    of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
    amended guideline range.
[11 Other (explain):




IlL ADDITIONAL COMMENTS

The defendant is not eligible for a reduction in sentence because his offense level was determined based on quantities
of cocaine hydrochloride and not cocaine base.




                                                                        I
Except as provided above, all provisions of the judgment dated January 8, 2008,                        shall remain in effect.
IT IS SO ORDERED.

Order Date


                                                                        B. Avant Edenfield
Effective Date:                                                         United States District Judge
                                                                        For the Southern District of Georgia
                     (if different from order date)                                           Printed name and title
